Robert Kenneth Black, Petitioner, v. Commissioner of Internal Revenue, RespondentBlack v. CommissionerDocket No. 37398United States Tax Court19 T.C. 474; 1952 U.S. Tax Ct. LEXIS 19; December 17, 1952, Promulgated *19 Decision will be entered that there is a deficiency in the amount of $ 210.  Respondent's burden of proof as to increased deficiency held adequately supported by facts alleged in answer and deemed admitted as a result of Tax Court's order under Rule 18 entered after notice and default by petitioner.  Melvin A. Bruck, Esq., for the respondent.  Opper, Judge.  OPPEROPINION.A*475  deficiency of $ 144.90 in income tax for the year 1950 was originally determined against petitioner.  By amended answer respondent seeks to increase the deficiency to the total amount of $ 210.  There was no appearance on behalf of petitioner at the hearing.  Respondent's application for an increase in the deficiency and his affirmative allegations in the amended answer place a part of the burden of proof upon him.  Stephen P. Hull, 18 B.T.A. 265"&gt;18 B.T.A. 265. Normally that burden is discharged by the introduction of evidence on respondent's part even where there is a default by petitioner.  In the present case, however, a motion had previously been made by respondent under Tax Court Rule 18, culminating in an order that the affirmative allegations of the amended answer*20  which were undenied by petitioner be deemed to be admitted.  In that state of the pleadings the admissions of petitioner dispense with the necessity of proof, and for that reason we find as facts the allegations in question and conclude that respondent's burden of proof has been successfully maintained.Decision will be entered that there is a deficiency in the amount of $ 210.  